                                    Case 4:17-cv-13294-LVP-EAS ECF No. 79-1 filed 06/21/18   PageID.2536   Page 1 of 2



                                                     UNITED STATES DISTRICT COURT
                                                     EASTERN DISTRICT OF MICHIGAN
                                                          SOUTHERN DIVISION
                                                                     Case No. 17-cv-13294-LVP-EAS
                                     CHAD HAYSE                      Hon. Linda V. Parker
                                                                     Mag. Elizabeth A. Stafford
                                             Plaintiff,

                                     v.
                                                                               INDEX OF EXHIBITS TO
                                     CITY OF MELVINDALE, a political           DEFENDANTS’ EMERGENCY
                                     Subdivision of the State;                 MOTION TO ENFORCE
                                     MELVINDALE CITY COUNCIL, a                PROTECTIVE ORDER,
                                     legislative body of the City of           SANCTIONS AGAINST
                                     Melvindale, NICOLE BARNES,                PLAINTIFF FOR VIOLATION OF
                                     WHEELER MARSEE, MICHELLE                  PROTECTIVE ORDER AND
                                     SAID LAND, DAVE CYBULSKI,                 FAILURE TO COMPLY WITH
                                                                               COURT RULES, AND CEASE
Ferndale, MI 48220 (248) 721-4200




                                     CARL LOUVET, and STEVEN
                                                                               AND DESIST FROM
    Foley & Mansfield, PLLP
     130 East Nine Mile Road,




                                     DENSMORE, individuals, sued in
                                     their official and personal capacities    CONTINUED VIOLATION

                                                 Defendants.

                                     DEBORAH GORDON LAW                       FOLEY & MANSFIELD, PLLP
                                     Deborah L. Gordon (P27058)               Gregory M. Meihn (P38939)
                                     Benjamin I. Shipper (P77558)             Melinda Balian (P55744)
                                     Irina L. Vaynerman (0396759)             John S. Gilliam (P81421)
                                     Elizabeth Marzotto Taylor (P82061)       Attorneys for Defendants
                                     Attorneys for Plaintiff                  130 E. Nine Mile Road
                                     33 Bloomfield Hills Parkway, Ste 220     Ferndale, MI 48220
                                     Bloomfield Hills, MI 48304               (248) 721-8161
                                     (248) 258-2500                           gmeihn@foleymansfield.com
                                     dgordon@deborahgordonlaw.com             mbalian@foleymansfield.com
                                     bshipper@deborahgordonlaw.com
                                     ivaynerman@deborahgordonlaw.com          Lawrence J. Coogan (P42433)
                                     emarzottotaylor@deborahgordonlaw.com     Co-Counsel for Defendants
                                                                              4146 Oakwood Blvd.,
                                                                              Melvindale, MI 48122
                                                                              (313) 381-0044
                                                                              lawrencejcooganlaw@yahoo.com
                                    Case 4:17-cv-13294-LVP-EAS ECF No. 79-1 filed 06/21/18    PageID.2537    Page 2 of 2



                                                                   INDEX OF EXHIBITS

                                        1. Michael Welch Complaint

                                        2. Welch Motion for Preliminary Injunction

                                        3. Affidavit of Police Chief John Allen

                                        4. Affidavit of Melinda Balian

                                        5. Detroit Free Press Article

                                        6. Subpoena to Produce PSC

                                        7. Taylor Email re: Lash Deposition

                                        8. Balian Email re: Lash Deposition
Ferndale, MI 48220 (248) 721-4200
    Foley & Mansfield, PLLP
     130 East Nine Mile Road,




                                        9. Welch Motion for Preliminary Injunction Exhibit List

                                        10.Plaintiff’s Third Set of Requests for Production of Documents to Defendants

                                        11.Welch Letter

                                        12.May 18, Balian Letter

                                        13.Plaintiff Email Response




                                                                              2
